Case 1:99-cr-00804-CMA Document 288 Entered on FLSD Docket 12/16/2008 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. _ 99-804-CR-ALTONAGA (SSSSS)
UNITED STATES OF AMERICA

Plaintiff,
V.

DIEGO MONTOYA-SANCHEZ
a/k/a “Don Diego”
YOB:1966 (J)# 04171-748
Defendant.
/
ORDER ON INITIAL APPEARANCE

ausa_Michael Davis Language SPANISH |
Agent_FBI Tape No._08G- (g| = 2495 t bz

The above-named defendant having been arrested on _12/12/08 and having appeared before the
court for initial appearance on ____12/15/08 and proceedings
having been held in accordance withFed.R.Cr.P. r. 5 or 40(a), it is thereupon

 

 

 

 

 

 

 

ORDERED as follows:

1. Wh | 1am A : E lay appeared as permanent/temporary counsel of record.
" Address: U ‘

Zip Code: Telephone: (305) 595 -— 0$6le
z: appointed as permanent counsel of record.

Address:

Zip Code: Telephone:
3. The defendant shall attempt to retain cgunsel And shall appear before the court at 10:00 a.m. on

Ly Z20_}D q , 2008.

(Garaignmen)Preliminary/Removal/identiy hearing is set for 10:00 A.M. io / 7 , 2008.

5. The defendant is held in temporary pretrial detention pursuant to 18 U.S.C. Section 3142 (d) or (f)
because , H ]

A detention hearing, pursuant to 18 U.S.C. Section 3142(f), is set for 10 :00 A.M. , 2008.

6. The defendant shall be released from custody upon the posting of the following type of appearance bond,
pursuant to 18 U.S.C. Section 3142:

 

 

This bond shall contain the standard conditions of bond printed in the bond form of this Court and, in
addition, the defendant must comply with the special conditions checked below:
Case 1:99-cr-00804-CMA Document 288 Entered on FLSD Docket 12/16/2008 Page 2 of 2

DIEGO MONTOYA-SANCHEZ

___a. Surrender all passports and travel document to the Pretrial Services Office and not to obtain any travel
documents during the pendency of the case.

__b. Report to Pretrial Services as follows:____time(s) a week in person;
____as directed; other

___c, Submit to random urine testing and/or treatment by Pretrial Services for theuse of non-physician-prescribed
substances prohibited by law.

___d. Maintain or actively seek full time gainful employment.

___e. Maintain or begin an educational program.

___f. Avoid all contact with victims of or witnesses to the crimes charged.

___g. Refrain from possessing a firearm, destructive device or other dangerous weapon.

___h. Comply with the following curfew:

___i, Avoid all commercial transportation facilities; no airports, no marinas, no bus terminals.

___j. Comply with the following additional special conditions of this bond:

time(s) a week by phone;

 

 

 

This bond was set: At Arrest
On Warrant
After Hearing

If bond is changed from that set in another District, the reason pursuant to Rule 40(f) is

 

 

If this space is checked, an evidentiary hearing pursuant to United States v. Nebbia, 357, F.2d 303
(2 Cir. 1966) shall be held prior to the posting of the bond. Such hearing shall be scheduled promptly upon
notification to the court that the defendant is ready to post bond.

7. The defendant has been advised by the court that if he or she is released on bond pursuant to the
conditions set forth herein or those later ordered by the court, the defendant is subject to arrest and
revocation of release and to various civil and criminal sanctions for any violation of those conditions.
These various sanctions and penalties are set forth more fully in the Appearance Bond itself.

8 The defendant is committed to the custody of the United States Marshal until an appearance bond has
been executed in accordance with this or subsequent court order.

DONE AND ORDERED at Miami, Florida this ooo 2008.

—_——

 

WILLIAM C. TURNOFF
UNITED STATES MAGISTRATE JUDGE
c: Assistant U.S. Attorney
Defense Counsel
Pretrial Services/Probation
